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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11 CR 00096 JAM
12                                Plaintiff,             AMENDED STIPULATION REGARDING
                                                         EXCLUDABLE TIME PERIODS UNDER SPEEDY
13                          v.                           TRIAL ACT; FINDINGS AND ORDER
14   MAURICIO PORTILLO, AND                              DATE: September 23, 2014
     IRMA GONZALEZ,                                      TIME: 9:30 a.m.
15                                                       COURT: Hon. John A. Mendez
                                  Defendants.
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on September 23, 2014.
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            2.      By this stipulation, defendants now move to continue the status conference until October
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     21, 2014 at 9:30 a.m., and to exclude time between September 23, 2014, and October 21, 2014 at 9:30
21
     a.m., under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of
25
            images. All of this discovery has been either produced directly to counsel and/or made available
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            for inspection and copying.
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                    b)     Counsel for defendants desire additional time to consult with their respective
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            clients, review the evidence, and weigh the possibility of settlement. Furthermore, the parties are

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 1          waiting for a pre-report from the United States Probation Office.

 2                  c)     Counsel for defendants believe that failure to grant the above-requested

 3          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                  d)     The government does not object to the continuance.

 6                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of September 23, 2014 to October 21,

11          2014 at 9:30 a.m., inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

12          3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2 [complex case] and T4 [reasonable

13          time for defense counsel to prepare], because it results from a continuance granted by the Court

14          at defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

15          such action outweigh the best interest of the public and the defendant in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20
     Dated: September 22, 2014                                BENJAMIN B. WAGNER
21                                                            United States Attorney
22
                                                              /s/ PAUL A. HEMESATH
23                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
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26 Dated: September 22, 2014                                  /s/ Donald Masuda
                                                              Donald Masuda
27
                                                              Counsel for Defendant IRMA GONZALEZ
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 2
     Dated: September 22, 2014                        /s/ Dina Santos
 3                                                    Dina Santos Counsel for Defendant
                                                      MAURICIO PORTILLO
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 8                                        FINDINGS AND ORDER
 9         IT IS SO FOUND AND ORDERED this 22nd day of September, 2014.
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11                                                /s/ John A. Mendez
                                                THE HONORABLE JOHN A. MENDEZ
12                                              UNITED STATES DISTRICT COURT JUDGE

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      STIPULATION RE: SPEEDY TRIAL ACT;           3
      [PROPOSED] FINDINGS AND ORDER
